         Case 1:20-cv-03010-APM Document 90 Filed 01/08/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA

 Google LLC,

                               Defendant.



 State of Colorado, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA

 Google LLC,

                               Defendant.



                DEFENDANT’S NOTICE REGARDING RULE 12 MOTION

       Pursuant to the Court’s December 18, 2020 Minute Order, Defendant Google LLC

hereby gives notice that it does not intend to file a Rule 12(b) motion to dismiss in Case No.

1:20-cv-03715-APM, and will answer the Complaint on or before February 15, 2021.




                                                 1
         Case 1:20-cv-03010-APM Document 90 Filed 01/08/21 Page 2 of 2




Dated: January 8, 2021              Respectfully submitted,

                                    WILLIAMS & CONNOLLY LLP

                                     By: /s/ John E. Schmidtlein
                                     John E. Schmidtlein (D.C. Bar No. 441261)
                                     Benjamin M. Greenblum (D.C. Bar No. 979786)
                                     Colette T. Connor (D.C. Bar No. 991533)
                                     725 12th Street, NW
                                     Washington, DC 20005
                                     Tel: 202-434-5000
                                     jschmidtlein@wc.com
                                     bgreenblum@wc.com
                                     cconnor@wc.com

                                     WILSON SONSINI GOODRICH & ROSATI P.C.
                                     Susan A. Creighton (D.C. Bar No. 978486)
                                     Franklin M. Rubinstein (D.C. Bar No. 476674)
                                     1700 K Street, NW
                                     Washington, DC 20006
                                     Tel: 202-973-8800
                                     screighton@wsgr.com
                                     frubinstein@wsgr.com

                                     ROPES & GRAY LLP
                                     Mark S. Popofsky (D.C. Bar No. 454213)
                                     2099 Pennsylvania Avenue, NW
                                     Washington, DC 20006
                                     Tel: 202-508-4624
                                     mark.popofsky@ropesgray.com

                                     Counsel for Defendant Google LLC




                                       2
